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                    United States Court of Appeals
                                     For the First Circuit
      No. 13-1059
                                        STEPHEN L. D'ANGELO

                                           Plaintiff - Appellant

                                                     v.

                NEW HAMPSHIRE SUPREME COURT; BRIAN G. GERMAINE, ESQ.

                                         Defendants - Appellees


                                                NOTICE

                                           Issued: June 6, 2013


             The Request for Removal from Service List filed by the following attorneys has been
      allowed and they will no longer receive notice in this case:

      William H. Whitney

            The following attorneys will continue to receive notice in this case:

      Stephen L. D'Angelo
      William C. Saturley
      Nancy J. Smith


                                                      Margaret Carter, Clerk


      UNITED STATES COURT OF APPEALS
      FOR THE FIRST CIRCUIT
      John Joseph Moakley
      United States Courthouse
      1 Courthouse Way, Suite 2500
      Boston, MA 02210
      Case Manager: George - (617) 748-9055


      cc:
      Stephen L. D'Angelo
      William C. Saturley
      Nancy J. Smith
      William H. Whitney
